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    UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF LOUISIANA

KENDALL WILLIS                                                *
                                                              *
v                                                             *       Civil Action No. 17-6199 B(4)
                                                              *
FIRST EMANUEL HOMES OF NEW ORLEANS, *
A LIMITED PARTNERSHIP, A LOUISIANA                            *
PARTNERSHIP IN COMMENDAM                                      *

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                          RULE 26.1 CORPORATE DISCLOSURES

       NOW INTO COURT, through the undersigned counsel, comes First Emanuel Homes Of

New Orleans, who represents that the following own 10% or more interest in First Emanuel Homes

Of New Orleans:

1      First Emanuel Baptist Church

2      Greater New Orleans Rehabilitation Corporation

                                      Respectfully submitted,
                                      L. GEROME SMITH (APLC)

                                      S/ L. Gerome Smith
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                                  CERTIFICATE OF SERVICE

I hereby certify that on March 12, 2018 I served a copy of the foregoing pleading and attachments
referenced herein to Galen Hair and Sarah Kalis, via electronic mail and via the United States Postal
Service first class postage pre-paid.

                                      S/ L. Gerome Smith
                                      L. GEROME SMITH


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